[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
JUDGMENT IN ACCORDANCE WITH STIPULATION
This appeal by application for reassessment of damages filed by the Defendant for taking of certain real property in the Town of Bloomfield, County of Hartford, State of Connecticut and more particularly bounded and described in the Notice of Condemnation and assessment of Damages attached hereto as Exhibit A, came to this Court on January 22, 1991 and thence to a later time when the parties having appeared, the matter was referred to the Honorable John M. Alexander, a State Trial Referee, to take testimony and reassess such damages thence to the present time when the parties filed a Stipulation.
The State Trial Referee, having heard the parties on the Stipulation, and having viewed the property, finds that the fair value of the property on the date of taking was $170,000 and that damages should be reassessed accordingly.
The State Trial Referee further finds that $162,000 was deposited by the Defendant with the Clerk of this Court for the use of the persons entitled thereto on account of the damages to be awarded and that the deficiency between the fair value of the CT Page 7510 property and the amount so deposited is $8,000.
WHEREFORE, it is adjudged that the damages be and they are hereby assessed at $170,000 and that the Defendant shall pay to the Plaintiffs $8,000, being the amount of the deficiency as above determined, there shall be no appraisal fees, interest Court costs awarded and that the Plaintiffs shall are not required to reimburse the Defendant the $6,900 Supplemental Replacement Housing payment.
By the Court
JOHN M. ALEXANDER State Trial Referee